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UNITED STATES DISTRICT COURT a [ea
EASTERN DISTRICT OF LOUISIANA

SUPERSEDING INDICTMENT FOR CONSPIRACY TO COMMIT WIRE FRAUD
AND TRANSPORTATION OF STOLEN GOODS
AND ILLEGAL REENTRY OF A REMOVED ALIEN

UNITED STATES OF AMERICA * CRIMINAL NO. 24-242
vs * SECTION: “G”
COSTEL ALIMAN
* VIOLATIONS: 18 U.S.C. § 371
SABINA MUNTEANU 8 U.S.C. § 1326(a)
RAMBO HARNA x
kok x

The Grand Jury charges that:

COUNT 1
(Conspiracy)

A. AT ALL TIMES MATERIAE HEREIN:

1. The defendants, COSTEL ALIMAN (ALIMAN), SABINA MUNTEANU
(MUNTEANU), and RAMBO HARNA (HARNA) were citizens of Romania.

2. Walmart Inc. (“Walmart”) was a multinational retail corporation that operates a
chain of hypermarkets (also called supercenters), discount department stores, and grocery stores
in the United States and 23 other countries. It is headquartered in Bentonville, Arkansas.

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3. MoneyGram International, Incorporated (“MoneyGram”) was an American
interstate and international peer-to-peer payments and money transfer company headquartered in
Dallas, Texas.

4, The Western Union Company (“Western Union”) is an American multinational
financial services and money transfer corporation headquartered in Denver, Colorado.

5. RIA Money Transfer (“RIA”) is a subsidiary of Euronet Worldwide, Inc., which
specializes in money remittances. RIA initiates transfers through a network of agents and
company-owned stores located throughout North America, South America, Europe, Asia-Pacific,
Africa, and online.

6. Walmart and MoneyGram had a business partnership that allowed MoneyGram
customer kiosks to be located within Walmart stores throughout the United States.

B. THE CONSPIRACY:

1, Beginning at a time unknown, but prior to on or about September 24, 2021, and
continuing until on or about August 25, 2024, in the Eastern District of Louisiana and elsewhere,
the defendants, ALIMAN, MUNTEANU, HARNA, and others known and unknown to the Grand
Jury, did knowingly and willfully combine, conspire, confederate, and agree with each other to:

(a) knowingly devise and intend to devise a scheme and artifice to defraud and
to obtain money and property by means of false and fraudulent pretenses, representations,
and promises, by stealing money from Walmart through fraudulent purchases of money
orders and money transfers, and for the purpose of executing the scheme and artifice
to defraud, and attempting to do so, did transmit and cause to be transmitted by means of
wire communications in interstate commerce, certain writings, signs, signals, pictures and

sounds, in violation of Title 18, United State Code, Section 1343; and

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(b) transport and cause to be transported in interstate commerce stolen goods,
wares, and merchandise having a value of $5,000 or more, knowing that the goods, wares,
and merchandise had been stolen and taken by fraud, in violation of Title 18, United States
Code, Section 2314.

C. MANNER AND MEANS TO ACCOMPLISH THE CONSPIRACY:

1. The manner and means by which ALIMAN, MUNTEANU, HARNA and others
known and unknown to the Grand Jury sought to accomplish the object and purpose of the
conspiracy included, among other things, the following:

2. ALIMAN, MUNTEANU, HARNA and other co-conspirators would enter a
Walmart and bring merchandise, money orders, and money transfer requests to the check-out
counter. The co-conspirators would use sleight-of-hand and distraction techniques to defraud the
cashier regarding payment for the merchandise, money orders, and money transfer requests.

3, The co-conspirators would return the fraudulently obtained property to another
Walmart store, in a different state, and receive a cash refund of the purchase price of the
merchandise.

4, The co-conspirators would also transfer and cause to be transferred by interstate
wire funds related to the money orders and money transfer requests.

D. OVERT ACTS:

1. In furtherance of and to conceal the conspiracy and accomplish its purposes, the
defendants, ALIMAN, MUNTEANU, HARNA, and others known and unknown to the Grand
Jury, committed at least one of the following overt acts, among others, in the Eastern District of

Louisiana:
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2. On about March 27, 2022, ALIMAN and HARNA presented approximately
$12,000.00 worth of Western Union money orders and a $2,500.00 RIA money transfer request
for purchase at a Walmart in Lake Worth, Texas. HARNA counted and pretended to hand the
Walmart cashier approximately $14,800.00 in cash. The ALIMAN distracted the cashier as
HARNA performed a sleight-of-hand technique to secretly retrieve approximately $13,200.00.
ALIMAN and HARNA then transferred and caused to be transferred approximately $12,000.00
from interstate wire to Texas for the Western Union money orders, and approximately $2,500.00
from interstate wire to Texas for the RIA money transfer.

3. On about August 28, 2022, ALTMAN and an unknown co-conspirator presented
approximately $3,360.96 worth of jewelry for purchase at a Walmart in Greece, New York.
ALIMAN counted and pretended to hand the Walmart cashier approximately $3,400.00 in cash.
The unknown co-conspirator distracted the cashier as ALIMAN performed a sleight-of-hand
technique to secretly retrieve approximately $2,400.00. ALIMAN and the unknown co-
conspirator then exited the Walmart store with the fraudulently obtained jewelry.

4, On about August 30, 2022, unknown co-conspirators returned and caused to be
returned jewelry stolen from the Walmart in Greece, New York to a Walmart in Cleveland, Ohio
for a refund.

5. On about September 5, 2022, ALIMAN and an unknown co-conspirator presented
approximately $6,000.00 worth of Western Union money orders for purchase at a Walmart in
Decatur, Illinois. The co-conspirator counted and pretended to hand the Walmart cashier
approximately $6,020.00 in cash. ALIMAN distracted the cashier as the co-conspirator performed

a sleight-of-hand technique to secretly retrieve approximately $4,000.00. ALIMAN and the
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unknown co-conspirator then transferred and caused to be transferred approximately $6,000.00
from interstate wire to Illinois for the Western Union money orders.

6, On about September 18, 2022, ALIMAN and an unknown co-conspirator presented
approximately $7,000.00 worth of Western Union money orders for purchase at a Walmart in
Murfreesboro, Tennessee. ALIMAN counted and pretended to hand the Walmart cashier
approximately $14,200.00 in cash. The unknown co-conspirator distracted the cashier as
ALIMAN performed a sieight-of-hand technique to secretly retrieve approximately $9,960.00.
ALIMAN and the unknown co-conspirator then transferred and caused to be transferred
approximately $14,000.00 from interstate wire to Tennessee for the Western Union money orders.

7. On about December 2, 2022, ALIMAN presented approximately $5,000 worth of
MoneyGram money transfers for purchase at a Walmart in Plano, Texas. ALIMAN counted and
pretended to hand the Walmart cashier approximately $5,200.00 in cash. ALIMAN performed
a sleight-of-hand technique to secretly retrieve approximately $3,200.00. ALIMAN then
transferred and caused to be transferred approximately $2,500.00 from the MoneyGram money
transfers from interstate wire to MUNTEANU in Romania.

8. On about January 30, 2023, ALIMAN and an unknown co-conspirator presented
approximately $6,000 worth of Western Union money orders, and $2,500.00 worth of MoneyGram
money transfers for purchase at a Walmart in Lompoc, California. ALIMAN counted and
appeared to hand the Walmart cashier approximately $11,300.00 in cash. The unknown co-
conspirator distracted the cashier as ALEMAN performed a sleight-of-hand technique to secretly
retrieve approximately $7,100.00. ALEMAN and the unknown co-conspirator then transferred and

caused to be transferred approximately $6,000.00 from Colorado to California for the Western
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Union money orders, and $2,500 from interstate wire to MUNTEANU in Romania for the
MoneyGram money transfers.

9. On about February 1, 2023, ALIMAN and an unknown co-conspirator presented
approximately $5,000.00 worth of Western Union money transfers, approximately $4,000.00
worth of VISA pre-paid debit cards, and approximately $2,500.00 worth of RIA money transfers
for purchase at a Walmart in Vacaville, California. ALIMAN counted and pretended to hand the
Walmart cashier approximately $11,900.00 in cash. The unknown co-conspirator distracted the
cashier as ALIMAN performed a sleight-of-hand technique to secretly retrieve approximately
$8,900.00. ALIMAN and the unknown co-conspirator then transferred and caused to be
transferred approximately $5,000.00 from interstate wire to Ireland and Romania in Western
Union money transfers, and $2,500.00 from interstate wire to California in RIA money transfers.

10. On about February 4, 2023, ALIMAN and an unknown co-conspirator presented
approximately $7,000.00 worth of Western Union money transfers, approximately $2,500.00
worth of RIA money transfers for purchase at a Walmart in Wood Village, Oregon. The
unknown co-conspirator counted and pretended to hand the Walmart cashier approximately
$9,700.00 in cash. ALIMAN distracted the cashier as the co-conspirator performed a sleight-of-
hand technique to secretly retrieve approximately $7,700.00. ALIMAN and the unknown co-
conspirator then transferred and caused to be transferred approximately $7,000.00 from interstate
wire to Oregon for the Western Union money orders, and $2,500 from interstate wire to Oregon
for the RIA money transfers.

11. On about August 13, 2023, ALIMAN and an unknown co-conspirator presented
approximately $2,500.00 worth of Western Union money transfers for purchase at a Walmart store

in Harvey, Louisiana. ALIMAN counted and pretended to hand the Walmart cashier
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approximately $2,600.00 in cash. The unknown co-conspirator distracted the cashier as ALIMAN
performed a sleight-of-hand technique to secretly retrieve approximately $1,300.00, ALIMAN
and the unknown co-conspirator then transferred and caused to be transferred approximately
$2,500.00 from interstate wire fo Romania for the Western Union money transfers.

12, On about August 13, 2023, ALIMAN and an unknown co-conspirator presented
approximately $3,575.12 worth of electronics for purchase at a Walmart store in Chalmette,
Louisiana. ALIMAN counted and pretended to hand the Walmart cashier approximately
$3,600.00 in cash. The unknown co-conspirator distracted the cashier as ALIMAN performed a
sleight-of-hand technique to secretly retrieve approximately $2,600.00. ALIMAN and the
unknown co-conspirator then exited the Walmart store with the fraudulently obtained electronics
merchandise.

13. On about August 14, 2023, unknown co-conspirators returned and caused to be
returned electronics stolen from the Walmart in Chalmette, Louisiana to Walmart stores in
Fairhope, Alabama and Pensacola, Florida for a refund.

14. On about January 7, 2024, ALIMAN and HARNA presented approximately
$8,164.86 worth of electronics for purchase at a Walmart store in Willowick, Ohio. ALIMAN
counted and pretended to hand the Walmart cashier approximately $8,300.00 in cash. HARNA
distracted the cashier as ALIMAN performed a sleight-of-hand technique to secretly retrieve
approximately $6,000.00. ALIMAN and HARNA then exited the Walmart store with the
fraudulently obtained electronics merchandise.

15. Between about January 8, 2023 and January 9, 2023, unknown co-conspirators

returned and caused to be returned electronics stolen from the Walmart in Willowick, Ohio to
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Walmart stores in Rochester, New York; Williamsville, New York; Victor, New York; and Greece,
New York for a refund.

16. On about March 25, 2024, ALIMAN and HARNA presented approximately
$6,000.00 worth of Western Union money orders for purchase at a Walmart in Laporte, Texas.
HARNA counted and pretended to hand the Walmart cashier approximately $6,100.00 in cash.
ALIMAN distracted the cashier as HARNA performed a sleight-of-hand technique to secretly
retrieve approximately $4,000.00. ALIMAN and HARNA then transferred and caused to be
transferred approximately $6,000.00 from interstate wire to Texas for the Western Union money
orders,

17. On about August 25, 2023, ALIMAN and MUNTEANU presented approximately
$3,902.25 worth of electronics for purchase at a Walmart store in Slideil, Louisiana. ALIMAN
counted and pretended to hand the Walmart cashier approximately $4,000.00 in cash.
MUNTEANU distracted the cashier as ALIMAN performed a sleight-of-hand technique to
secretly retrieve approximately $3,000.00. ALIMAN and MUNTEANU exited the Walmart
store with the fraudulently obtained electronics merchandise.

All in violation of Title 18, United States Code, Section 371.

COUNT 2
(Illegal Reentry of a Removed Alien)

On or about August 25, 2024, in the Eastern District of Louisiana, defendant COSTEL
ALIMAN, an alien, was found in the United States after having been deported and removed there
from on or about January 9, 2019, without the approval of the Attorney General of the United
States or his designated successor, the Secretary of the Department of Homeland Security, as

provided for in Title 6, United States Code, Sections 202(3), 202(4), and 557, having expressly
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consented to the defendant’s reapplication for admission into the United States, in violation of

Title 8, United States Code, Section 1326(a).

COUNT 3
(legal Reentry of a Removed Alien)

On or about August 25, 2024, in the Eastern District of Louisiana, defendant SABINA
MUNTEANU, an alien, was found in the United States after having been deported and removed
there from on or about October 4, 2017, without the approval of the Attorney General of the United
States or his designated successor, the Secretary of the Department of Homeland Security, as
provided for in Title 6, United States Code, Sections 202(3), 202(4), and 557, having expressly
consented to the defendant’s reapplication for admission into the United States, in violation of
Title 8, United States Code, Section 1326(a).

NOTICE OF FORFEITURE

1. The allegation contained in of Count 1 of this Superseding Indictment are
incorporated by reference as though set forth fully herein for the purpose of alleging forfeiture to

the United States.

2. As a result of the offense alleged in Count 1, defendants COSTEL ALIMAN,
SABINA MUNTEANU, and RAMBO HARNA, shall forfeit to the United States pursuant to
Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461,

any property, real or personal, which constitutes or is derived from proceeds traceable to said

offense.

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3. If any of the property subject to forfeiture, as a result of any act or omission of the
defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
C. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided

without difficulty;
the United States shall seck a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any substitute property of the defendants up to the value of said

property.

DUANE A. EVANS
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Assistant United States Attorney
Louisiana Bar Roll No. 40187

New Orleans, Louisiana
November 21, 2024

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